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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

WILLIAM HUBBARD,                                      )
                                                      )
                              Plaintiff,              )
                                                      )
                         v.                           )        No. 2:20-cv-00227-JPH-DLP
                                                      )
MICHAEL MITCHEFF, et al.                              )
                                                      )
                              Defendants.             )

                                              ORDER

       Because the plaintiff is proceeding in forma pauperis, this Court is obligated to assist him

with serving the defendants. Fed. R. Civ. P. 4(c)(3). The Court's first attempt to issue process to

the defendants was unsuccessful. See dkts. 10, 11.

       The clerk is directed pursuant to Fed. R. Civ. P. 4(c)(3) to re-issue process to defendants

Michael Mitcheff and Kim Hobson in the manner specified by Rule 4(d). Process shall consist of the

complaint, dkt. [2], the Order screening the complaint, dkt. [10], applicable forms (Notice of Lawsuit

and Request for Waiver of Service of Summons and Waiver of service of Summons), and this Order.

The clerk shall send a courtesy copy of these same documents to attorney Douglass R. Bitner.

SO ORDERED.

Date: 11/4/2020




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Distribution:

WILLIAM HUBBARD
945818
WABASH VALLEY - CF
WABASH VALLEY CORRECTIONAL FACILITY - Inmate Mail/Parcels
Electronic Service Participant – Court Only

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Courtesy Copy to:

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